                       Declaration of David A. Lubarsky, M.D.


      David A. Lubarsky, M.D., being of lawful age and a resident of the state of
Florida, declares the following.


   1. My name is David A. Lubarsky. I am a licensed medical doctor. I provided
      expert testimony in the case of Abdur’Rahman, et al. v. Parker, et al., Case
      No. 18-183-III. My credentials are contained in the transcript of my
      testimony and curriculum vitae. The court accepted me as an expert in
      anesthesiology and pain management.
   2. Counsel for the Abdur’Rahman plaintiffs asked me to review a video of the
      complete press conference conducted immediately after the execution of Billy
      Ray Irick on August 9, 2018, as well as published media accounts of the
      execution. It is my understanding that the video of the press conference was
      live-streamed on multiple media websites and then posted to the web. I was
      provided the complete unedited video.
   3. The official media witnesses describe physical behavior of Mr. Irick after the
      drugs were administered that I recognize to be signs that Mr. Irick was not in
      a plane of surgical anesthesia during his execution. This is important because
      an inmate who is not placed in a plane of surgical anesthesia is not protected
      from the subsequent torturous effects of the lethal injection process. These
      signs and indicators include that Mr. Irick “gulped for an extended period of
      time” was “choking” “gasping” “coughing” and that “his stomach was moving
      up and down.” Published media accounts report, “Irick did appear to react
      physically to the [vecuronium bromide]. He jolted and produced what
      sounded like a coughing or choking noise. He moved his head slightly and
      appeared to briefly strain his forearms against the restraints.” Steven Hale,
      The Execution of Billy Ray Irick, Nashville Scene, August 10, 2018.
   4. I also learned that Mr. Irick’s hands were wrapped in tape and secured to the
      gurney.




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   5. During my testimony I discussed physical signs that indicate that a person is
      not in a plane of surgical anesthesia, which include hand movement. A
      trained observer knows that if a patient moves his fingers or hands that is a
      clear indicator that that they are not anesthetized.
   6. The taping of Mr. Irick’s hands affirmatively prevented the Warden from
      observing an important indicator that Mr. Irick was not anesthetized. The
      taping of an inmate’s hands is not necessary because the inmate’s wrists are
      restrained, which is more than sufficient to prevent the inmate from pulling
      out the catheter.
   7. The failure to place Mr. Irick in a plane of surgical anesthesia means that he
      was sensate when the chemicals were introduced into his system. As Dr.
      Greenblatt, Dr. Stevens, and I explained in detail, this means that when Mr.
      Irick experienced noxious stimuli, he was roused into awareness because at
      most he was only sedated.
   8. The noxious stimuli include the pulmonary edema caused by the pH of
      midazolam when injected as well as the suffocation from the vecuronium
      bromide and the excruciating burning pain caused by the potassium chloride.
   9. Based on the review of the media accounts, I conclude to a reasonable degree
      of medical certainty that Mr. Irick was aware and sensate during his
      execution and would have experienced the feeling of choking, drowning in his
      own fluids, suffocating, being buried alive, and the burning sensation caused
      by the injection of the potassium chloride.


      I declare under the laws of the United States, the State of Tennessee, and
penalty of perjury, that the foregoing is true and correct to the best of my
information and belief.




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                                                                               Attachment 12
   Dated this 2nd day of September, 2018.




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                                                    David A. Lubarsky, M.D.




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